                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                              Plaintiff,         )
                                                 )
       v.                                        )
                                                 )    CASE NO. 07-00157-01-CR-W-NKL
VICTOR IVAN RODRIGUEZ,                           )
                                                 )
                              Defendant.         )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       The Defendant, by consent, has appeared before me pursuant to Fed.R.Crim.P. 11, Local

Rule 72(j)(26), and 28 U.S.C. § 636, and has entered a plea of guilty to Count 1 of the Indictment.

After cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Fed.R.Crim.P. 11, I determined that the guilty plea knowledgeable and voluntary as

to Count 1 of the Indictment and that the offense charged is supported by an independent basis in

fact containing each of the essential element of such offense. A record was made of the

proceedings and a transcript is available. I therefore recommend that the plea of guilty be accepted

and that the Defendant be adjudged guilty and have sentence imposed accordingly.

       Failure to file written objections to this Report and Recommendation within ten (10) days

from the date of its service shall bar an aggrieved party from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                       s/ JOHN MAUGHMER
                                                      JOHN MAUGHMER
                                                      United States Magistrate Judge
Dated: September 20, 2007




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